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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SID MILLER, et al.,                      §
                                          §
        Plaintiffs,                       §
                                          §
 v.                                       §
                                          §              Civil Action No. 4:21-cv-0595-O
 TOM VILSACK, in his official capacity as §
 Secretary of Agriculture,                §
                                          §
        Defendant.                        §

                                            ORDER

       Before the Court is Plaintiffs’ Motion for Preliminary Injunction (ECF No. 17), filed June

2, 2021. To efficiently resolve the Motion, the Government is ORDERED to file a response by

June 11, 2021. Plaintiffs may file a reply by June 18, 2021.

       SO ORDERED this 2rd day of June 2021.



                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
